                                                          Case 1:24-cv-06270-ER                    Document 6                      Filed 08/27/24        Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            1:24-cv-06270-ER

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for MAJOR LEAGUE BASEBALL ADVANCED MEDIA, L.P.
 was recieved by me on 8/22/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Corporation Service Company, who is designated by law to accept service of process on
          X
                                    behalf of MAJOR LEAGUE BASEBALL ADVANCED MEDIA, L.P. at 80 State St, Albany, NY 12207 on 08/26/2024 at
                                    12:20 PM; or

                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


          I declare under penalty of perjury that this information is true.

                                                                                                                {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   08/26/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                      Server's signature



                                                                                                                                                     Francisco Cruz
                                                                                                                                                     Printed name and title



                                                                                                                526 Warren St.
                                                                                                                Albany, NY 12208


                                                                                                                                                       Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Corporation Service Company with identity confirmed by subject saying yes when
           named. The individual accepted service with direct delivery. The individual appeared to be a blonde-haired white
           female contact 55-65 years of age, 5'10"-6'0" tall and weighing 160-180 lbs.




                                                                                                                                                                   Tracking #: 0141340858
